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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

Civil Action No. 14-cv-02246-CBS

GAIL EVANS,

              Plaintiff,

v.

THE CBE GROUP, INC., an Iowa corporation,

              Defendant.


                                 NOTICE OF SETTLEMENT


       COMES NOW the Plaintiff by and through her counsel of record and for her Notice

of Settlement, hereby states:

1.     The Plaintiff and the Defendant have reached a settlement.

2.     The Plaintiff will be filing a Notice of Dismissal with Prejudice with each party to pay

       its own attorney’s fees and costs once the settlement terms have been completed.

       The parties expect this to happen by August 29, 2014.

Respectfully Submitted,

s/ David M. Larson
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